                      Case 2:12-cr-01158-JB              Document 91           Filed 12/19/12             Page 1 of 4
AO 245B (Rev 12/10) Criminal Judgment Sheet 1

                                           UNITED STATES DISTRICT COURT
                                                         District of New Mexico

                  UNITED STATES OF AMERICA                            Judgment in a Criminal Case
                             V.
                     Omar Martinez-Limon                              (For Offenses Committed On or After November 1, 1987)
                                                                      Case Number: 2:12CR01158-001JB
                                                                      USM Number: 65969-051
                                                                      Defense Attorney: Nia Rucker, Appointed
THE DEFENDANT:

c    pleaded guilty to count(s) 1 and 2 of Indictment
d    pleaded nolo contendere to count(s) which was accepted by the court.
d    after a plea of not guilty was found guilty on count(s)

The defendant is adjudicated guilty of these offenses:

Title and Section Nature of Offense                                                        Offense Ended              Count
                                                                                                                      Number(s)
8 U.S.C.         Conspiracy, to wit: Transporting An Illegal Alien                         03/24/2012                 1
Secs. 1324
(a)(1)(A)(v)(I)
and (a)(1)(B)(i)

8 U.S.C.          Transporting an Illegal Alien                                            03/23/2012                 2
Secs. 1324
(a)(1)(A)(ii) and
(a)(1)(B)(i)

The defendant is sentenced as provided in pages 2 through 4 of this judgment. The sentence is imposed pursuant to the Sentencing
Reform Act of 1984.

d    The defendant has been found not guilty on count .
d    Count dismissed on the motion of the United States.

IT IS FURTHER ORDERED that the defendant must notify the United States attorney for this district within 30 days of any change of
name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If
ordered to pay restitution, the defendant must notify the court and United States attorney of material changes in economic circumstances.

                                                                      August 13, 2012
                                                                      Date of Imposition of Judgment


                                                                      /s/ James O. Browning
                                                                      Signature of Judge


                                                                      Honorable James O. Browning
                                                                      United States District Judge
                                                                      Name and Title of Judge


                                                                      December 19, 2012
                                                                      Date Signed
                      Case 2:12-cr-01158-JB            Document 91            Filed 12/19/12         Page 2 of 4
AO 245B (Rev. 12/10) Sheet 2 - Imprisonment                                                                            Judgment - Page 2 of 4


Defendant: Omar Martinez-Limon
Case Number: 2:12CR01158-001JB


                                                        IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total term of 145 days
or time served, whichever is less .

The Court recommends that Immigration and Customs Enforcement begin immediate removal proceedings.

A term of 145 is imposed as to each of Counts 1 and 2; said terms shall run concurrently.

Pursuant to Section 5D1.1(c) a term of supervised release is not imposed.

The Court has considered the Guidelines and, in arriving at its sentence, has taken account of the Guidelines with other sentencing
goals. Specifically, the Court has considered the Guidelines` sentencing range established for the applicable category of offense
committed by the applicable category of Defendant. The Court believes that the Guidelines` punishment is appropriate for this
sort of offense. Therefore, the sentence in this judgment is consistent with a guideline sentence. The Court has considered the
kind of sentence and range established by the Guidelines. The Court believes that a sentence of 145 days reflects the seriousness
of the offense, promotes respect for the law, provides just punishment, affords adequate deterrence, protects the public, avoids
unwarranted sentencing disparities among similarly situated defendants, effectively provides the Defendant with needed education
or vocational training and medical care, and otherwise fully reflects each of the factors embodied in 18 U.S.C. Section 3553(a).
The Court also believes the sentence is reasonable. The Court believes the sentence is sufficient, but not greater than necessary,
to comply with the purposes set forth in the Sentencing Reform Act.

d      The court makes the following recommendations to the Bureau of Prisons:




c      The defendant is remanded to the custody of the United States Marshal.
d      The defendant shall surrender to the United States Marshal for this district:
       d    at on
       d    as notified by the United States Marshal.
d      The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
       d    before 2 p.m. on
       d    as notified by the United States Marshal
       d    as notified by the Probation or Pretrial Services Office.


                                                              RETURN

I have executed this judgment as follows:




Defendant delivered on ________________________________________________________________ to
______________________________________ at _______________________________ with a Certified copy of this judgment.




                                                                     UNITED STATES MARSHAL
Case 2:12-cr-01158-JB   Document 91   Filed 12/19/12   Page 3 of 4
                               By
                                DEPUTY UNITED STATES MARSHAL
                      Case 2:12-cr-01158-JB                     Document 91     Filed 12/19/12          Page 4 of 4
AO 245B (Rev.12/10) Sheet 5, Part A - Criminal Monetary Penalties                                                        Judgment - Page 4 of 4


Defendant: Omar Martinez-Limon
Case Number: 2:12CR01158-001JB


                                                 CRIMINAL MONETARY PENALTIES

The defendant must pay the following total criminal monetary penalties in accordance with the schedule of payments.
c        The Court hereby remits the defendant's Special Penalty Assessment; the fee is waived and no payment is required.
Totals:                                     Assessment                           Fine                         Restitution
                                              $200.00                           $0.00                            $0.00


                                                         SCHEDULE OF PAYMENTS
Payments shall be applied in the following order (1) assessment; (2) restitution; (3) fine principal; (4) cost of prosecution; (5) interest;
(6) penalties.
Payment of the total fine and other criminal monetary penalties shall be due as follows:
The defendant will receive credit for all payments previously made toward any criminal monetary penalties imposed.
A       d In full immediately; or
B       d $ immediately, balance due (see special instructions regarding payment of criminal monetary penalties).

Special instructions regarding the payment of criminal monetary penalties:Criminal monetary penalties are to be made payable
by cashier's check, bank or postal money order to the U.S. District Court Clerk, 333 Lomas Blvd. NW, Albuquerque, New Mexico
87102 unless otherwise noted by the court. Payments must include defendant's name, current address, case number and type of
payment.



Unless the court has expressly ordered otherwise in the special instructions above, if this judgment imposes a period of imprisonment,
payment of criminal monetary penalties shall be due during the period of imprisonment. All criminal monetary penalty payments, except
those payments made through the Bureau of Prisons' Inmate Financial Responsibility Program, are to be made as directed by the court,
the probation officer, or the United States attorney.
